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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

         v.
                                                        Criminal No. 18-cr-24 (DLF)
RICHARD PINEDO,

                        Defendant.


                                     JOINT STATUS REPORT

         The United States of America, by and through Special Counsel Robert S. Mueller, III, and

the defendant, Richard Pinedo, through counsel, respectfully submit this joint status report. The

parties request that the Court set this matter for sentencing. Defense counsel is unavailable the first

two weeks of September 2018 and on October 12, 2018. The parties therefore respectfully request

that the Court set this matter for sentencing on any date after September 17, 2018, except for

October 12, 2018. Defense counsel for Mr. Pinedo has reviewed and agreed with this report.



                                                       Respectfully submitted,

                                                       ROBERT S. MUELLER, III
                                                       Special Counsel

Dated:        June 28, 2018                    By:     /s/ Ryan K. Dickey
                                                       Jeannie S. Rhee
                                                       L. Rush Atkinson
                                                       Ryan K. Dickey
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